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EXHIBIT A

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al. Case No. 08-13141-KJC
Debtors. Joint Administration Requested

ORDER AUTHORIZING THE DEBTORS AND BARCLAYS BANK PLC
TO FILE UNDER SEAL CERTAIN FEE LETTERS

Upon consideration of the motion (the “Motion”)* of the Movants for entry of an
order authorizing the Movants to file under seal certain Fee Letters; and it appearing that
this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it

appearing that this Motion is a core proceeding pursuant to 28 U.S.C. § 157; and

he Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune
Company (0355); 435 Production Company (8865), 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc.
(8258); California Community News Corporation (5306); Candie Holdings Corporation (5626), Channel 20, Inc. (7399); Channel 39,
Inc. (5256), Channel 40, Inc. (3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (3434);
Chicago Tribune Company (3437); Chicago Tribune Newspapers, Inc. (0439), Chicago Tribune Press Service, Inc. (3167);
ChicagoLand Microwave Licensee, Inc. (1579), Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352);
Courant Specialty Products, Inc, (9221); Direct Mail Associates, Inc. (6121); Distribution Systems of America, Inc. (3831); Eagie
New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327); forsalebyawner.com corp. (0219);
ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation (5628); Forum Publishing Group, Inc. (2940),
Goid Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc. (9808), Homeowners Realty, Inc.
(1507), Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Internet
Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479), JuliusAir Company IE, LLC; KIAH Inc. (4014); KPLR, Ine.
(7943); KSWB Enc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles
Times International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF,
LLC (0893); Neocomm, inc. (7208); New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc. (5621);
Newscom Services, Inc. (4817}; Newspaper Readers Agency, Inc. (7335), North Michigan Production Company (5466), North
Orange Avenue Froperties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775);
Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel Communications News
Ventures, Inc. (2027); Shepard’s Inc. (7931); Signs of Distinction, Inc. (3603); Souther Connecticut Newspapers, Inc. (1455); Star
Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880), The Daily Press, Inc. (9368), The Hartford Courant Company (3490); The Moming Call, Inc. (7560), The Other Company
LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc, (4227); Times Mirror
Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS I, inc, (0719); TMS Entertainment Guides, inc, (6325), Tower
Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Jnc. (4438); Tribune
Broadcasting Company (2569), Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc. (£088);
Tribune Califomia Properties, Inc. (1629); Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company (6232), Tribune
Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service Center, Inc. (7844), Tribune
License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net,
Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper
Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail,
Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384), WCWN
LLC (5982); WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); WPIX, Inc.
(0191); and WFXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address for cach Debtor is 435 North Michigan
Avenue, Chicago, Hingis 60611.

? Capitalized terms used but not defined herein shal! have the same meanings ascribed to them in

the Motion.
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adequate notice of the Motion and opportunity for objection having been given; and it
appearing that no other notice need be given; and after due deliberation and sufficient
cause therefor, it is hereby:

ORDERED that the Motion is GRANTED in its entirety; and it is further

ORDERED that Movants are authorized to file the Fee Letters under seal;
and it is further

ORDERED that the Movants are authorized and empowered to take all
actions necessary to implement the relief granted in this Order; and it is further

ORDERED that all parties to whom the Movants provide the Fee Letters
are directed to maintain the strict confidentiality of the Fee Letters and the information
contained therein; and it is further

ORDERED that the terms and conditions of this Order shall be
immediately effective and enforceable upon its entry; and it is further

ORDERED that this Court retains jurisdiction with respect to all matters
arising from or related to the implementation of this Order.

Dated: , 2008
Wilmington, Delaware

United States Bankruptcy Judge
